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                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF


UNITED STATES OF AMERICA,

                       Plaintiff,
                vs.                         JUDGMENT OF DISMISSAL
KRYSTEEN MARIE PIERCE (1),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

-K-   the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

-K-   of the offense(s) as charged in the Indictment:

      21 USC 841(a) (1) and 846 - Conspiracy to Distribute Marijuana;

      21 USC 841 (a) (1) - Possession       Marijuana with Intent to Distribute;
      18 USC 2 - Aiding and Abetting

           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 09/08/15
                                            Thorn
                                            U.S. District Judge
